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UNITED sTATEs DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE C“:‘-€ ! ;, a

 

WESTERN DIVISION
MARY coBURN JUI)GMENT IN A CIVIL CASE
V.
FRosTY TREATS, INC. CASE No; 03-2632-1)

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been renderedl

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Administratively
Closing Case entered on May 13, 2005, this cause is hereby dismissed.

APPROVED:

B ICE B. ONALD
UNITED STATES DISTRICT COURT

ROBEHT R. DI TROLIO
Date §§ E Clerk of Court
jai/a ames

(B/§) Deputy Clerk

 

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with sue 58 and/or 79(3) FF\cP un ' D

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:03-CV-02632 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

